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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


UNITED STATES OF AMERICA                       §
                                               §
v.                                             §          Criminal No. 4:21-cr-00009
                                               §
ROBERT T. BROCKMAN                             §


                                   [PROPOSED] ORDER

        For good cause shown, Mr. Brockman’s Motion to Modify Protective Order is

GRANTED.

     1. The Court hereby modifies the Protective Order as follows:

           a. The materials provided pursuant to this protective order may only be used

               for the specific purpose of preparing or presenting a defense in this matter,

               unless specifically authorized by the Court, and except that if any materials

               provided pursuant this protective order have also been made available to the

               government’s attorneys in related civil litigation between the defendant and

               the government related to defendant’s tax liabilities, those materials may also

               be used by the defendant for the specific purpose of preparing or presenting

               defendant’s position in that related civil litigation.

           b. IT IS FURTHER ORDERED that defense counsel shall return materials

               subject to this protective order (including any copies) to the United States

               within 28 days after whichever event occurs last in time: dismissal of all

               charges against the defendant; defendant’s acquittal; defendant’s sentencing;


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             or the conclusion of any direct appeal in this criminal proceeding; dismissal

             of all related civil litigation between the defendant and the government

             regarding defendant’s tax liabilities; final judgment in such civil litigation;

             or the conclusion of any direct appeal of a final judgment in such civil

             litigation.

   2. IT IS FURTHER ORDERED that the government identify those materials that

      have been provided to the IRS in connection with its civil enforcement activities to

      allow Mr. Brockman timely access to those materials for use in the Collateral Civil

      Proceedings. If the government fails to identify such materials within seven days

      of the entry of this Order, Mr. Brockman is permitted to use all criminal discovery

      aside from grand jury testimony in the Collateral Civil Proceedings.



So ORDERED, this ______ day of __________, 2022.




                                             George C. Hanks, Jr.
                                             United States District Judge




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